Case 8:22-cv-01327-KKM-TGW Document 134 Filed 08/10/23 Page 1 of 4 PagelD 1753

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
BOBBY SHED,
Plaintiff,
Vv. CASE NO. 8:22-cv-1327-KKM-TGW

UNIVERSITY OF SOUTH FLORIDA
BOARD OF TRUSTEES, et al.,

Defendants.
/

ORDER

THIS CAUSE came on for consideration upon the Defendants’
Motions to Compel (Docs. 116, 117).

Previously, I issued an order directing the defendants to indicate what
portions, if any, of their motions were not moot in light of United States District
Judge Kathryn Kimball Mizelle’s order granting in part and denying in part the
Defendants’ Motion to Dismiss (Doc. 67) (see Doc. 128). The defendants filed a
supplement that identified what portions of their motions were not moot (Doc. 131).
Additionally, the plaintiff filed responses in opposition to the defendants’ motions
after the issuance of my order (Docs. 130, 133). The defendants’ motions will be
granted, to the extent they are not moot.

“Parties may obtain discovery regarding any nonprivileged matter that
Case 8:22-cv-01327-KKM-TGW Document 134 Filed 08/10/23 Page 2 of 4 PagelD 1754

is relevant to any party’s claim or defense and proportional to the needs of the case
.... Fed. R. Civ. P. 26(b)(1). In its motions, the defendants have identified items
that are both relevant and proportional to the needs of the case. And, importantly,
the plaintiff has not adequately objected to them. Thus, “[g]eneral objections to

discovery requests as a whole are not proper.” Doe v. Rollins College,

618CV10690RL37KRS, 2019 WL 11703980 at *1 (M.D. Fla. Feb. 27, 2019).
Further, “[s]pecific objections should be matched to specific” interrogatories or

requests for production. Jackson v. Geometrica, Inc., 3:04C V640J20HTS, 2006 WL

213860 at *1 (M.D. Fla. Jan. 27, 2006).

As noted by the defendants, the plaintiff asserted general objections and
did not specifically respond to the discovery requests. Thus, for instance, the
defendants state that in response to the various requests for production identified in
their second motion to compel, the plaintiff merely “responded with a 2-page global
objection” (Doc. 117, p. 1). Moreover, his responses to the motions do not remedy
this error. “[O]bjections that are simply made as general blanket objections will be

overruled by the Court.” Desoto Health & Rehab, L.L.C. v. Philadelphia Indem. Ins.

Co., 209-CV-599-FTM-99SPC, 2010 WL 2330286 at *1 (M.D. Fla. June 10, 2010).
It is, therefore, upon consideration,
ORDERED:

That the Defendants’ Motions to Compel (Docs. 116, 117) be, and the
Case 8:22-cv-01327-KKM-TGW Document 134 Filed 08/10/23 Page 3 of 4 PagelD 1755

same are hereby, GRANTED. Thus, the plaintiff must provide the defendants with
answers or items responsive to the following discovery requests within 21 days of
the date of this order:
1. Interrogatory Nos. 7-8 of the Defendants’ First Set of Interrogatories to
Plaintiff Shed.
2. Interrogatory Nos. 11-14 of the Defendants’ First Set of Interrogatories to
Plaintiff Shed.
3. Requests for Production Nos. 1-2 of the Defendants’ First Requests for
Production to Plaintiff.
4. Request for Production No. 4 of the Defendants’ First Requests for Production
to Plaintiff.
5. Requests for Production Nos. 18-26 of the Defendants’ First Requests for
Production to Plaintiff.
6. Request for Production No. 34 of the Defendants’ First Requests for
Production to Plaintiff.
7. Request for Production No. 36 of the Defendants’ First Requests for
Production to Plaintiff.
8. Request for Production No. 41 of the Defendants’ First Requests for
Production to Plaintiff.

9. Requests for Production Nos. 43-49 of the Defendants’ First Requests for
Case 8:22-cv-01327-KKM-TGW Document 134 Filed 08/10/23 Page 4 of 4 PagelD 1756

Production to Plaintiff.
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DONE and ORDERED at Tampa, Florida, this /@_ day of August,
2023.

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

